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                     Exhibit 45
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   Case 2:21"-cv-003I6 Document 115 Frled 11,122121, Page L of 2 PagelD #: 1758



                        IN THE UNITED STATES DISTRICT COURT
                  X'OR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J., by her next friend and mother,
 HEATHER JACKSON,
     Plaintiffn

 v.                                           Civil .dction No. 2:21-cv-00316
                                              Honorable Joseph R Goodwin, Judge

 wEsr VIRGINIA STATE BOARD OF EDUCATION,
 HARRTSON COUNTY BOARD OF' EDUCATION,
 WEST YIRGINIA SECONDARY SCHOOL
 ACTIVITIES COMMISION, W. CLAYTON BURCH
 in his official capacity as State Superintendent, and
 DORA STUTLER in her oflicial capacity ns
 Harrison County Superintendent, PATRICK MORRISEY
 In his oflicial capacity as Attorney General, and THE
 STATE OF WEST VIRGINIA,
         Defendants.

                                 CERTIF'ICATE OT SERVICE


 I hereby certit/ that I, Roberta F. Green, have this day, the 22"d day of November,202l, served a
 true and exact copy of "|IUSSAC's Responses to Plaktiffs First Set of Interrogatorre,r" was
 served on counsel by electronic means:



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   Case 2:2L-cv-OO3LG Document l-15 Filed LL12212L Page 2 of 2 PagelD #: 1759



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                                             /S/ Roberta F, Green

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                     IN THE UNITED STATES DISTRICT COURT
                F'OR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

B.P.J., by her next friend and mothero
HEATHER JACKSON,
    Plaintiff,

v                                           Civit Action No. 2:21-cv-00316
                                            Honorable Joseph R. Goodwinn Judge

WEST VIRGINIA STATE BOARD OF EDUCATION'
HARRISON COUNTY BOARD OF EDUCATION'
WEST VIRGINIA SECONDARY SCHOOL
ACTMTIES COMMISTON, W. CLAYTON BURCH
in his oflicial capacity as State Superintendent, and
DORA STUTLER in her official capacity as
Harrison County Superintendent, PATRICK MORRISEY
In his official capacity as Attorney General, and THE
STATE OF WEST VIRGINIA,
       Defendants.

    WVSSAC'S      ESPONSES TO PLAINTIFF 'S F'IRST SET OF'                          ATORIES

       Now comes West Virginia Secondary School Activities Commission (WVSSAC), by

counsel, and responds as follows to Plaintiff s First Set of Interrogatories to Defendant West

Virginia Secondary School Activities Commission.

       Defendant has not completed discovery in this civil action and has not completed its

preparation for trial. For these reasons, the Defendant's responses are based upon only such

information and documents as are presently available and known to WVSSAC. Further discovery

and independent investigation may supply additional facts, add meaning to facts, or may establish

entirely new factual contentions, and, therefore, additions to, changes in, and/or variations from

the Defendant's present responses may be necessary or may unavoidably result. The following

responses are given in good faith but without prejudice to the Defendant's right to produce

evidence of subsequently discovered facts or documents.




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       The Defendant avails itself of all rights under the Federal Rules of Civil Procedure and

such other applicable rules and law, and objects to the instructions contained in Plaintiffs
                                                                                                that
discovery requests to the extent such instructions attempt to impose burdens on the Defendant

are outside the scope of the Rules or the law generally. The Defendant is not bound
                                                                                      to follow any

instructions which may be contrary to the Rules and other law.

       Without waiving the foregoing, the Defendant provides the following responses.



                                       INTERROGATORIES

                      ATORY NO. 1:        Identiff all PERSONS who provided information in

preparation of yOUR Answer and Motion to Dismiss the First Amended Complaint, and for each

such PERSON, state the following:

        (a)     Their name, address, and telephone number;

        (b)     Their relationship to YOU and/or B'P'J'; and

        (c)     A detailed description of such knowledge and/or information

RESPONSE:

Objection; attorney work product, attorney client privilege. Beyond those objections and without

waiving sarne, WVSSAC responds as follows:

             Beyond WVSSAC counsel, WVSSAC Executive Director, Bernie Dolan (contact
        ^.
             through undersigned counsel).

        b. Executive Director, WVSSAC
        c. Mr. Dolan provided factual information relative to the history, structure and funding of
             WVSSAC. He further provided information relative to WVSSAC rules, regulations,

             policies and Practices.




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         INTERROGATORY NO. 2: Identifl'all financial funding YOU received in 2019 to the

present. For each identified funding, please state the following:

         (a)   Who provided the funding, and

         (b)   What the funding was allocated to.

RESPONSE:

         West Virginia's Secondary School Activities Commission (WVSSAC) receives no dues

whatsoever from member schools and has not for more than a decade. WVSSAC sustains itself

with corporate sponsorships, advertising revenue and gate proceeds from championship meets and

tournaments. WVSSAC's corporate sponsorships, which change over time, from 2019 to the

present have included West Virginia Dairy Association/Milk Producers, Farmers & Mechanics,

U.S. Army, MetroNews, Midstate Automotive, Field Turf, Spalding, and Caresource.




        INTERROGATORY NO.3: Identifi all schools that compete in WVSSAC sponsored

activities.

RESPONSE:

        Member schools compete in WVSSAC sponsored activities. Non-member schools can

compete in most WWVSSAC sponsored activities as long as they are indeed organized as schools.

For example, Calvary Baptist Church School and Teays Valley Christian are non-member schools

who participate over time. Additionally, Wood County Christian is currently a member but




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participated as a non-member prior to joining. WVSSAC has 289 member schools that appear on

the WVSSAC website at https://www. wvssac.ors/school-directorv/




       INTERROGATORY NO. 4: Identiff all COMMLINICATIONS, if any, YOU have

received from students, teachers, parents, schools, coaches, legislators, or other PERSONS

CONCERNING B.P.J.

RESPONSE:

       Bridgeport Middle School's eligibility list was posted per the Rules on the WVSSC

website.




       INTERROGATORY NO. 5: Identifr all COMMUNICATIONS if any, YOU have

received from students, teachers, parents, schools, coaches, legislators, or other PERSONS

CONCERNING students who are transgender participating in school sports of any level in West

Virginia.

RESPONSE:

       WVSSAC received one inquiry two years ago directly from an athlete with a male birth

gender interested in volleyball and considering female gender purportedly to be eligible to play

volleyball. WVSSAC heard nothing further. More recently, WVSSAC had one inquiry from a

transgender athlete with a female birth gender. See also morc generally response to interrogatory

numbered 7.




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                                                                                        transgender that
       INTERROGATORy No. 6: Identiff the number of students who are
                                                                        Virginia, and for each student'
YOU are aware of who play or have played school sports in West

please speciff the sport(s) played by the student and current
                                                                school level ofthat student'


RESPONSE:
                                                                                  BPJ (cross country at
       On information and belief and as reflected in instant pleadings,

Bridgeport Middle Schoot). wvSSAC has no knowledge of
                                                                       other transgender participants'

                                                             gender neutral, it would have no reason
However, given that wvssAc's policies and practices are

                                                                   athlete or the school'
to know ofother transgender athletes unless contacted by the




                                                                   with
        INTERROGATORY NO. 7: Identiff all PERSONS YOU communicated

CONCERNING H.B. 3293 andthe date and content of the
                                                                COMMUNICATION'

RESPONSE:
                                                                                     asking him to appear
        In late March Z}zl,Mr. Dolan received texts from Senator Baldwin,
                                                                                  odiscuss the transgender
                                                                   to appear to
 before the senate Democratic caucus. Mr. Dolan was asked

                                                                   at ten locations across west virginia
 athlete bill., Also referenced at regional principal's meetings

 from July 28 to August 12,2021.




         INTERROGATORY No. g: Identiff all PERSONS responsible
                                                                                   for creating' enforcing'


 and monitoring YOUR policies for school athletics'

 RESPONSE:




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       The Board of Control is where member schools vote on proposals and create the rules and

regulations, which are approved by the State Board of Education and then enforced and monitored

by the schools. WVSSAC becomes involved in instances of disputes or appeals.




       INTERROGATORY NO. 9: Identifu all steps YOU have taken to contemplate, prepare

for, monitor, implement, and/or enforce POLICIES and rules CONCERNING the implementation

of H.B. 3293.

RESPONSE:

       None.




       INTERROGATORY NO. 10: Identiff all PERSONS responsible for determining

student eligibility on sports teams under YOUR POLICIES for school athletics.

RESPONSE:

       All of the member schools.

       In the instance of disputes, Executive Director Bernie Dolan, Assistant Executive Director

Greg Reed, Assistant Executive Director Wayne Ryan, Assistant Executive Director Dr. Cindy

Daniels.




       INTERROGATORY NO. 11: Identiff all YOUR public and private school members,

and for each such member state whether they are public or private.




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RESPONSE:

       WVSSAC has 289 member schools identified here (private schools underlined), which

schools also appear on the WVSSAC website at https://www.wvssac.org/school-directory/


   Andrew Jackson Middle - Kanawha Co. (Cross Lanes, WV); Aurora School - Preston Co.
   (Aurora, WV); Baileysville Elementary - Wyoming Co. (Brenton, WV); Barboursville Middle
   - Cabell Co. (Barboursville, WV); Barrackville Middle - Marion Co. (Banackville, WV);
   Beckley-Stratton Middle School - Raleigh Co. (Beckley, WV); Belington Middle - Barbour
   Co. (Belington, WV); Berkeley Springs-Morgan Co. (Berkeley Springs,WV); Blennerhassett
   Middle School - Wood Co. (Parkersburg, WV); Bluefield - Mercer Co. (Bluefield, WV);
   Bluefield Middle School - Mercer Co. (Bluefield, WV); Braxton County - Braxton Co.
   (Sutton, WV); Braxton County Middle - Braxton Co. (Sutton, WV); Bridge Street Middle -
   Ohio Co. (Wheeling, WV); Bridgeport Middle - Harrison Co. (Bridgeport, WV); Bridgeport
   Senior High School - Harrison Co. (Bridgeport, WV); Brooke High School - Brooke Co.
   (Wellsburg, WV); Brooke Middle School - Brooke Co. (Wellsburg, WV); Bruceton School -
   Preston Co. (Bruceton Mills, WV); Buckhannon-Upshur - Upshur Co. (Buckhannon, WV);
   Buckhanon-Upshur Middle - Upshur Co. (Buckhannon, WV); Buffalo - Putnam Co. (Buffalo,
   WV); Buffalo Middle - Wayne Co. (Kenova, WV); Burch Middle School - Mingo Co.
   (Delbarton, WV); Cabell Midland - Cabell Co. (Ona, WV); Calhoun County Middle/High
   School - Calhoun Co. (Mt. Zion, WV); Cameron - (Cameron, WV); Capital High School -
   Kanawha Co. (Charleston, WV); Capon Bridge Middle - Hampshire Co. (Capon Bridge, WV);
   Cedar Grove Middle School - Kanawha Co. (Cedar Grove, WV); Central Preston Middle
   School - Preston Co. (Kingwood, WV); Ceredo-Kenova Middle - Wayne Co. (Ceredo, WV);
   Chapmanville Middle - Logan Co. (Chapmanville, WV); Chapmanville Regional High School
   - Logan Co. (Chapmanville, WV); Charles Town Middle School - Jefferson Co. (Charles
   Town, WV); Charleston Catholic - Kanawha Co. (Charleston. WV): Clay County High School
   - Clay Co. (Clay, WV); Clay County Middle - Clay Co. (Clay, WV); Clay Battelle -
   Monongalia Co. (Blacksville, WV); Covenant Christian School - Monongalia Co.
   (Morsantown" WV): Crum Middle - Wayne Co. (Crum, WV); Davis Thomas Elementary
   Middle - Tucker Co. (Thomas, WV); Doddridge County - Doddridge Co. (West Union, WV);
   Doddridge County Middle - Doddridge Co. (West Union, WV); Dunbar Middle - Kanawha
   Co. (Dunbar, WV); Dupont Middle - Kanawha Co. (Belle, WV); Duval Middle School -
   Lincoln Co. (Griffithsville, WV); East Bank Middle - Kanawha Co. (East Bank, WV); East
   Fairmont - Marion Co. (Fairmont, WV); East Fairmont Middle School - Marion Co. (Fairmont,
   WV); East Hardy - Hardy Co. (Baker, WV); East Hardy Early Middle - Hardy Co. (Baker,
   WV); Eastern Greenbrier Middle School - Greenbrier Co. (Ronceverte, WV); Edison
   Middle School - Wood Co. (Parkersburg, WV); Elkins - Randolph Co. (Elkins, WV); Elkins
   Middle-Randolph Co. (Elkins, WV); ElkviewMiddle-KanawhaCo. (Elkview, WV); Enoch
   High School; Fairmont Catholic Jr. High - Marion Co. (Fairmont, WV); Fairmont Senior High
   School - Marion Co. (Fairmont, WV); Fairview Middle - Marion Co. (Fairview, WV);
   Fayetteville Pre K-8 - Fayette Co. (Fayetteville, WV); Fort Gay Pre K-8 - Wayne Co. (Fort
   Gay, WV); Frankfort - Mineral Co. (Ridgeley, WV); Frankfort Middle - Mineral Co.
   (Ridgeley, WV); Geary Middle School - Roane Co. (Left Hand, WV); George Washington



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  - Kanawha Co. (Charleston, WV); George Washington              -
                                                                 Middle School   Putnam Co. (Eleanor,
                                           (Gilbert, WV); Gilmer  CountY - Gilmer Co
  wv); Gilbert Middle School -   Mingo  Co
  (Glenville, WV); Glen Fork Middle Wyoming Co. (Glen Fork, WV);
                                       -                                      School
                                                                          Glenwood           -
                                                                   Greater Beckley   Christian
  Mercer Co. (Princeton, WV); Grafton Taylor Co. (Grafton, WV);
                                        -
                                          Bank Middle -  Pocahontas  Co. (Green Bank, WV);
  - Raleigh Co. (ProsPeritY , WV); Green                                            -      Co
  Greenbrier East  -  Greenbrier Co (Lewisburg, WV); Greenbrier West Greenbrier
  (Charmco, WV); GuYan Valley Middle School - Lincoln Co (Branchland,
                                                                              WV); Hamilton
                                                                         Lincoln Co. (Hamlin,
  Middle School-Wood Co. (Parkersburg, WV); Hamlin Middle School -
                                                                              School - Mason
  WV), Hampshire - Hampshire Co. (RomneY, WV); Hannan Senior /Middle
  Co. (Ashton, WV); Harman - RandolPh Co. (Harman, WV);
                                                              Harpers Ferr,'Middle School           -
  Jefferson Co. (HarPers Ferry, WV); Harts PK-8 - Lincoln
                                                             Co. (Harts, WV); Hayes Middle
   School - Kanawha Co. (St. Albans, WV); Hedgesville Middle               -
                                                                  Berkeley Co. (Hedgesville,
  wv); Hedgesville Senior High School Berkeley Co. (Hedgesville, WV); Herbert Hoover
                                            -                                                       -
                                                                      Co. (B ud, WV); Horace
   Kanawha Co. (Elkview, WV); Hemdon Consolidated - WYoming
                                                                              Middle School -
   Mann Middle School - Kanawha Co. (Charleston, WV); Huff Consolidated
   Wyoming Co. (Hanover, WV); Hundred - Wetzel Co. (Hundred,       WV);   Huntington  - Cabell
                                                               (Huntington, WV); Huntington
   Co. (Huntington, WV); Huntington East Middle - Cabell Co.
                                                                             (Hunicane, WV);
   Middle School - Cabell Co. (Huntington, wv); Hurricane - Putnam Co'
   Hurricane Middle - Putnam Co. (Hunicane, WV); Independence
                                                                 Middle School - Raleigh Co.
                                                                       Jackson Middle School
   (Sophia, WV); IndePendence Senior - Raleigh Co. (Coal CitY , WV);
      Wood Co. (Vienna, WV); James Monroe Monroe Co. (Lindside, WV);
                                                             -                     Jefferson        -
   Jefferson Co. (Shenandoah Junction, WV); John Adams       Middle   School  -  Kanawha    Co'
   (Charleston, WV); John Marshall - Marshall Co. (Glen Dale, WV);
                                                                      Kasson Middle   School        -
   Barbour Co. (Moatsville, WV); Kermit Area -   Mingo   Co. (Kermit,  WV); Keyser Mineral  -
                                                     -    (KeYser, WV); Lenore K-8 - Mingo
   Co. (Keyser, WV); KeYser Primary/Middle Mineral Co.
                                                                          Liberty (Hanison)
   Co. (Williamson, WV); Lewis County Lewis Co. (Weston, WV);
                                                 -
                                                -
   Harrison Co. (Clarksburg, WV); LibertY Raleigh Co. (GlenDaniel,
                                                                      WV); Lincoln- Harrison
                                                                 -     (Hamlin, WV); Lincoln
   Co. (Shinnston, WV); Lincoln CountY High School Lincoln Co.
                                                                         (Logan, WV); Logan
   Middle School - Harrison Co. (Shinnston, WV); Logan - Logan      Co.
                                                                              Co. (Metz, WV);
    Middle School - Logan Co. (Logan, WV); Long Drain Middle - Wetzel
    Madison Middle Boone Co. (Madison, WV);
                       -                                             High School - Logan Co
    Magnolia High School - Wetzel Co. Q'{ew Martinsville, WV); Man
                                                                              Middle - Marion
    (Man, WV); Man Middle School - Logan Co. (Mallory , WV); Mannington
                                                               (Buckeye, WV); Martinsburg
    Co. (Mannington, WV); Marlinton Middle - Pocahontas Co.
    Berkeley Co. (Martinsburg, WV); Martinsburg South Middle               -
                                                                  Berkeley Co. (Martinsburg,
    wv); Matewan - Mingo Co. (Matewan, wv); McKinley Middle School Kanawha         -    Co. (St.
                                                                      WV); Midland Trail High
    Albans, WV); Meadow Bridge High - FaYette Co. (Meadow Bridge,
                                                                 (Milton, WV); Mingo Central
    School - Fayette Co. (Hico , WV); Milton Middle - Cabell Co.
    - Mingo Co. (Delbarton, wv); Monongah MiddleCo. -Marion Co. (Monongah, WV); Montcalm
    - Mercer Co. (Rock, WV); Moorefield - Hardy
                                                      (Moorefield, WV); Moorefield Middle               -
    Hardy Co. (Moorefield, WV); Morgantown            Monongalia Co. (Morgantown, wv);
    Moundsville Middle School - Marshall Co. (Moundsville , WV); Mount
                                                                           View High School             -
                                                                       -     Co. (Welch, WV);
    McDowell Co. (Welch, WV); Mount View Middle School McDowell
                                                                                  View Middle
     Mountain Ridge Middle School Berkeley Co. (Genardstown, WV);
                                                                        Mountain
                                   -
     School     Monroe Co. (Union, WV); Mountaineer (M) Middle                 Monongalia Co.
                                                                   (Clarksburg, WV); Mullens
     (Morgantown, WV); Mountaineer Middle School - Harrison Co.



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  Middle - Wyoming Co. (Mullens, WV); Musselman - Berkeley Co. (Inwood, WV);
  Musselman Middle - Berkeley Co. (Bunker Hill, WV); New Martinsville Middle - Wetzel Co.
  (New Martinsville, WV); Nicholas County - Nicholas Co. (Summersville, WV); Nitro -
  Kanawha Co. (Nitro, WV); North Marion - Marion Co. (Farmington, WV); North Middle -
  Berkeley Co. (Martinsburg, WV); Notre Dame - Harrison Co. (Clarksburg, WV); Oak Glen
  High School - Hancock Co. (New Cumberland, WV); Oak Glen Middle - (New Cumberland,
  WV); Oak Hill - Fayette Co. (Oak Hill, WV); Oak Hill Middle - Fayette Co. (Oak Hill, WV);
      Oceana Middle - Wyoming Co. (Oceana, WV); Our Lady of Fatima Parish School - Cabell
  Co. (Huntington, WV); Paden City High School - Wetzel Co. (Paden City, WV); Park Middle
  - Raleigh Co. (Beckley, WV); Parkersburg - Wood Co. (Parkersburg, WV); Parkersburg
  Catholic - Wood Co. (Parkersburg" WV): Parkersburg South - Wood Co. (Parkersburg, WV);
  Paw Paw - Morgan Co. (Paw Paw, WV); Pendleton County - Pendleton Co. (Franklin, WV);
  Petersburg - Grant Co. (Petersburg, WV); Peterstown Middle - Monroe Co. (Peterstown,
  WV); Philip Barbour High School - Barbour Co. (Philippi, WV); Philippi Middle - Barbour
  Co. (Philippi, WV); Pickens School; Pikeview - Mercer Co. (Princeton, WV); Pikeview
  Middle School - Mercer Co. (Princeton, WV); Pineville Middle - Wyoming Co. (Pineville,
  WV); Pleasants County Middle School - Pleasants Co. (Belmont, WV); Poca - Kanawha Co.
  (Poca, WV); Poca Middle - Kanawha Co. (Poca, WV); Pocahontas County - Pocahontas Co.
  (Dunmore, WV); Point Pleasant Senior/Middle School - Mason Co. (Point Pleasant, WV);
  Preston High School - Preston Co. (Kingwood, WV); Princeton Middle School - Mercer Co.
  (Princeton, WV); Princeton Senior - Mercer Co. (Princeton, WV); Ravenswood - Jackson Co.
  (Ravenswood, WV); Ravenswood Middle - Jackson Co. (Ravenswood, WV); Richwood
  Nicholas Co. (Craigsville, WV); Richwood Middle School - Nicholas Co. (Richwood, WV);
  Ripley - Jackson Co. (Ripley, WV); Ripley Middle - Jackson Co. (Ripley, WV);Ritchie
  County-Ritchie Co. (Ellenboro, WV); Ritchie County Middle-Ritchie Co. (Ellenboro, WV);
  River View - McDowell Co. (Bradshaw, WV); Riverside - Kanawha Co. (Belle, WV);
  Rivesville Middle - Marion Co. (Rivesville, WV); Road Branch Jr. High - Wyoming Co.
  (Cyclone, WV); Roane County - Roane Co. (Spencer, WV); Robert C. Byrd - Harrison Co.
  (Clarksburg, WV); Robert L. Bland Middle - Lewis Co. (Weston, WV); Romney Middle -
  Hampshire Co. (Romney, WV); Rowlesburg School - Preston Co. (Rowlesburg, WV); Saint
  Joseph Central - Cabell Co. (Huntington, WV); Saint Joseph School - Berkelev Co.
  (Martinsburg. WV): Sandy River Middle School - McDowell Co. (Avondale, WV); Scott -
  Boone Co. (Madison, WV); Shady Spring - Raleigh Co. (Shady Spring, WV); Shady Spring
  Middle School -Raleigh Co. (Shady Spring, WV); Shepherdstown Middle School - Jefferson
  Co. (Shepherdstown, WV); Sherman - Boone Co. (Seth, WV); Sherman Junior High School -
  Boone Co. (Seth, WV); Shenard Middle School - Marshall Co. (Wheeling, WV); Short Line
  Middle - Wetzel Co. (Reader, WV); Sissonville - Kanawha Co. (Charleston, WV); Sissonville
  Middle - Kanawha Co. (Charleston, WV); South Charleston - Kanawha Co. (South
  Charleston, WV); South Charleston Middle School - Kanawha Co. (South Charleston, WV);
  South Harrison - Harrison Co. (Lost Creek, WV); South Harrison Middle School - Harrison
  Co. (Lost Creek, WV); South Middle - Monongalia Co. (Morgantown, WV); South Preston
  School - Preston Co. (Tunnelton, WV); Southside School - McDowell Co. (War, WV);
  Spencer Middle - Roane Co. (Spencer, WV); Spring Mills High School - Berkeley Co.
  (Martinsburg, WV); Spring Mills Middle - Berkeley Co. (Martinsburg, WV); Spring Valley -
  Wayne Co. (Huntington, WV); St. Albans High School - Kanawha Co. (St. Albans, WV); St.
  Francis Central Middle School - Monongalia Co. (Morgantown. WV): St. Francis Desales



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                                                                                         St. Patrick
                    Co
                                                     -Jackson Middle    School    -  Kanawha    Co.
                                                                        (Hinton, WV); Summers
  (Charleston, WV); Summers County High School - Summers Co.
                                                                  Middle   School - Nicholas Co
  Middle School - Summers Co. (Hinton, WV); Summersville
  (Summersville, WV); Suncrest Middle - Monongalia Co. (Morgantown,
                                                                              wv);           Taylor
                                                               Preston - Preston Co. (Tena Alta,
  County Middle - Taylor Co. (Grafton, WV); Terra Alta East
  wv); Tolsia - Wayne Co. (Fort GaY , WV); Trap Hill Middle - Raleigh Co. (GlenSchool        Daniel,
  WV); Trialelphia Middle School - Ohio Co (Wheeling, WV); Trinity Christian                       -
                                                                   Co. (Hambleton,     WV);  Tucker
  Monongalia Co. (Morgantown, WV); Tucker County - Tucker
                                                        ValleY  - Mingo   Co. (Williamson, wv);
  Valley Middle - Tucker Co. (Hambleton, WV);       Tug
  Tygarts Valley MiddleiSenior High - Randolph Co. (Mill Creek,
                                                                      WV); Tyler Consolidated -
                                                                        (S istersville, WV), Union
  Tyler Co. (Sistersville, WV); TY ler Consolidated Middle - Tyler Co.
                             WV); UniversitY - Monongalia Co.        (Morgantown,      WV); ValleY
  - Grant Co. (Mt Storm,(Smithers,      WV); ValleY (Wetzel) - Wetzel Co. (Pine Grove, WV);
   (Fayette) - FaYette Co.
   Valley Pre K-8 - FaYette Co. (Smithers, WV); Van Senior/Middle School -
                                                                                        (Van, WV);
   Vandevender Middle School - Wood Co. (Parkersburg, WV);
                                                                  Vinson Middle School - WaYne
                                                                       Co. (Mason, WV); Walton
   Co. (Huntington, WV) ; Wahama Senior/Middle School - Mason
   Middle - Roane Co. (W alton, WV); Warm SPrings Middle - Morgan
                                                                            Co. (BerkeleY SPrings,
                                                                         High    School - Jefferson
   WV); Warwood Middle - Ohio Co. (Wheeling, WV); Washington
                                                                                (Clarksburg, WV);
   Co. (Charles Town, WV); Washington-Irving Middle - Harrison Co.
                                                                     Co (Wayne, WV); Webster
   Wayne - Wayne Co. (WaYne' wv); Wayne Middle - WaYne
                                                                    Hancock Co. (Weirton, WV);
   County High School - Webster Co. (Upper Glade, WV); Weir-
   Weir Middle - Hancock Co. (Weirton, WV); West Fairmont Middle School -
                                                                                         Marion Co
    (Fairmont, WV); West Preston Middle School - Preston Co (Arthurdale,
                                                                                     WV); Western
                                                                  Westside - Wyoming Co. (Clear
    Greenbrier Middle School - Greenbrier Co. (Crawley, WV);
                                                                                  Wheelins Central
    Fork, WV); Westwood Middle - Monongalia Co. (Morgantown, WV);
                                               Wheeling Middle - Ohio Co. (Wheeling, WV);
                                                                      Jefferson Co. (Shenandoah
    Wheeling Park - Ohio Co. (Wheeling, WV); Middle School -
    Junction, WV); Williamson Pre K-8 - Mingo Co. (Williamson,
                                                                     WV); Williamstown - Wood
    Co. (Williamstown, WV); Winfield - Putnam Co. (Winfield,
                                                                 WV); Winfield Middle - Putnam
    Co. (Winfield, WV); Wirt CountY - Wirt Co. (Elizabeth, WV);
                                                                      Wirt County Middle - Wirt
                                                        ood                                Woodrow
    Co. (Elizabeth, WV);
    Wilson - Raleigh Co. (Beckley, WV); WV School for the Blind -
                                                                         Hampshire Co. (RomneY,
                                                                                    East - Wyoming
    WV); WV School for the Deaf - Hampshire Co. (Romney, WV);Wyoming
     Co. (New Richmond, WV)




                                                                                        board' For
       INTERROGATORY NO. 12: Identiff each member of YOUR governing

each member, please state the following:

       (a)     Their name, address, and telephone number;

       (b)     Their role; and



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       (c)     A detailed description of how they were selected'

RESPONSE:

       WVSSAC has a Board of Control and a Board of Directors. As set out in
                                                                                      127 CSR -1-5,
                                                                              The Board of Control
the administration of the WVSSAC shall be vested in a Board of Control'
                                                                                 among the schools
shall determine the regulation of interscholastic athletic and band activities
represented by the -"irb.r, of the commission and shall have charge
                                                                          of all Commission funds,
                                                                             assign to the Board of
and in order to expedite the regulations of activities shall delegate and
                                                                                        and working
Directors hereinafter constitutedl and the Executive Director, hereinafter constituted,
through the Board of Directors, authority to interpret and enforce these regulations.
                                                                                    while two are
     Five members of the Board of Directors are elected from the Board of Control,
appointment, all as set out in 127 CSR 1-6, detailing appointment and
                                                                      voting protocols. See Mayo
                                                                                  (who should be
v. wvssAC, 223 W.Va. gg, 672 5.E.2d224 (2008). The current Board members
contacted through undersigned counsel) are as follows:

     . Region 1 Member - Gregory Moore, Principal, President
     . Region 2 Member - David Cottrell, Principal
     . Region 3 Member - Michael Kelley, Principal, vice President
     . Region 4 Member - Jimmy Frashier' Principal
     . Region 5 Member - Craig Lee Loy, Principal

      . Member - steve campbell, Athletic Directors Association
      . Member - Dr. Eddie Campbell, County Superintendents
      . Member - Jim Craw'ford. County Boards of Education
      . Member - Robert Dunlevy, WV State Superintendent Designee
      . Member - Dr. James wilson, wv State Board of Education
 Board members should be contacted through undersigned counsel.




        INTERROGATORY NO. 13: Identifu all employees, contractors, or other personnel
                                                                                 the general nature
 affiliated with yOU who maintain records CONCERNING B.P.J. and describe

 ofthose records.

 RESPONSE:

         On information and belief, member school Bridgeport Middle School's
                                                                                 eligibility form.



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                                              WEST VIRGINIA SECONDARY SCHOOL
                                              ACTIVITIES COMMISSION,
                                              By Counsel.

/S/ Roberta F. Green

Roberta F. Green (WVSB #6598)
Kimberly M. Bandy (WVSB #10081)
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kbandy@shumanlaw.com




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                             IN THE IJNITED STATES DISTRICT COURT
                        r.OR THE SOUTIIERN DISTRICT OF WEST VIRGINIA
                                      CHARLESTON DTVISION

 B.P.J., by her next friend and mother,
 HEATHERJACKSON,
     Plaintiff,

 v.                                           Civil Action No.2:21-cv-00316
                                              Honornble Joseph R. Goodwin, Judge
 WEST VIRGINIA STATtr, BOARD OT'EDUCATION,
 HARRTSON COUNTY BOARD OF EDUCATTON,
 WEST VIRGINIA SECONDARY SCHOOL
 ACTIVITIES COMMTSION, W. CLAYTON BURCH
 in his official capacity as State Superintendent, and
 DORA STUTLER in her oftlclal capacity as
 Harrison County Superintendent, PATRICK MORRISEY
 In his official capacity ar Attorney General, and THE
 srATE O[' WEST VIRGINTA,
         Defendants.
                                         VERIT'ICATION

 STATE OF WEST YIRGINIA;

 COIJNTY OF WOOD, to-wih

         Bernie Dolan, being first duly sworn, upon his oath does hereby depose and say that he has
 read the answers to intenogatories in the foregoing and believes that the facts contained therein,
 except insofar as they are stated to be upon informatiou and belief, are believed to be true; that the
 responses set forth herein, subject to inadvertent and undiscovered enors, are based on and therefore
 necessarily limited by the records and information in existence, presently recollected and thus far
 discovered in the course ofthe preparation ofthese responses; that consequently, he reserves the rigbt
 to make any changes in the responses if it appears at any time that omissions or effors have been made
 therein or that more accurate information is available; and that subject to the limitations set forth herein,
 said responses are true to the best of his knowledge, information and belief.




                                              By:
                                                           Bernie Dolan


          Taken, subscribed and swom to before me this 3,0- a"y                    of tr-\s {ernben-   .202t.

          My commission expires                      lSr-t..r A. &1An
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                    .i',{.r;r"i.',r     IAURAW LTACE                      Notary Public
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 lsEALI         f(S$i
                'ili:.             My comm. ErptrBs Jdi t, 2022
                    ?875 Staunlon rumplko Fartersburg WV 26t04
